181 F.2d 1011
    John L. LEWIS et al., Appellants,v.F. S. NEELY COMPANY, Inc., et al.
    No. 14052.
    United States Court of Appeals Eighth Circuit.
    April 14, 1950.
    
      Appeal from the United States District Court for the Western District of Arkansas.
      William L. P. Burke, Washington, D. C., Jack Rose and G. L. Grant, Fort Smith, Ark., for appellants.
      Warner &amp; Warner, Fort Smith, Ark., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court, D.C., 86 F.Supp. 354, dismissed at costs of Appellants, on stipulation of parties.
    
    